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  8
  9                        UNITED STATES DISTRICT COURT
 10                 FOR THE CENTRAL DISTRICT OF CALIFORNIA
 11
                                           )
 12 XOCHITL HERNANDEZ,                     )   CIVIL ACTION NO. 5:16-00620-JGB-KK
    CESAR MATIAS, for themselves           )
 13 and on behalf of a class similarly-    )
    situated individuals,                  )
 14                                        )   DISCOVERY MATTER
           Plaintiffs-Petitioners,         )
 15                                        )   (1) PLAINTIFFS’ NOTICE OF
    v.                                     )   MOTION AND MOTION TO
 16                                        )   COMPEL CERTAIN RESPONSES TO
                                           )   PLAINTIFFS’ FIRST SETS OF
 17                                        )   REQUESTS FOR PRODUCTION AND
    JEFF SESSIONS, U.S., Attorney          )   INTERROGATORIES;
 18 General, et al.,                       )
                                           )   Filed Under Separate Cover
 19        Defendants-Respondents.         )
                                           )   (2) JOINT STIPULATION (WITH NO
 20                                        )   RESPONSE FROM DEFENDANTS
                                           )   PROVIDED); and
 21                                        )
                                           )   (3) DECLARATION OF DOUGLAS A.
 22                                        )   SMITH
                                           )
 23                                        )
                                           )   Date: December 7, 2017
 24                                        )   Time: 10:00 a.m.
                                           )   Judge: The Honorable Kenly Kiya Kato
 25                                        )
                                           )   Discovery Cutoff Date: April 27, 2018
 26                                        )
                                           )   Pretrial Conference Date: August 13, 2018
 27                                        )   Trial Date: August 28, 2018
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                            PLAINTIFFS’ NOTICE OF MOTION TO COMPEL
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                            PLAINTIFFS’ NOTICE OF MOTION TO COMPEL
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  1 TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
  2        PLEASE TAKE NOTICE that on December 7, 2017, at 10:00 a.m. PT, or as
  3 soon thereafter as the matter may be heard, in Courtroom 3 or 4 of the above-
  4 referenced Court, located at 3470 Twelfth Street, Riverside, CA 92501, Plaintiffs
  5 Xochitl Hernandez and Cesar Matias, for themselves and on behalf of a certified
  6 class of similarly situated individuals (“Plaintiffs”), will move for an order
  7 compelling certain responses to Plaintiffs’ First Sets of Requests for Production and
  8 Interrogatories.
  9        Pursuant to Local Rule 37-2.2, Plaintiffs’ counsel served its portion of the
 10 joint stipulation on counsel for Defendants on October 26, 2017. Defendants’
 11 counsel did not return Defendants’ portion of the joint stipulation by the parties’
 12 agreed upon deadline of November 8, 2017, which provided nearly double the
 13 amount of time Defendants would otherwise have had under Local Rule 37-2.2 to
 14 serve their portion of the joint stipulation on Plaintiffs. Accordingly, Plaintiffs are
 15 filing the joint stipulation signed only by counsel for Plaintiffs and without any
 16 response from Defendants or the signature of Defendants’ counsel. In connection
 17 with this Motion, Plaintiffs have filed a declaration meeting the requirements of
 18 Local Rule 37-2.4 pertaining to the “Failure to File Joint Stipulation.”
 19        The motion is based on this Notice of Motion, the Declaration of Douglas A.
 20 Smith in Support of Plaintiff’s Motion to Compel and corresponding exhibits, the
 21 Joint Stipulation with no response from Defendants provided, all the pleadings and
 22 papers filed in this action, and upon such other and further oral or documentary
 23 evidence as may be presented to the Court at or prior to the hearing on the motion.
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                             PLAINTIFFS’ NOTICE OF MOTION TO COMPEL
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  1       DATED: November 9, 2017
  2
                             SKADDEN, ARPS, SLATE, MEAGHER & FLOM LLP
  3
  4
                                   By:          /s/ Douglas A. Smith
  5                                             Douglas A. Smith
  6
                             Attorney for Plaintiffs Hernandez and Matias, and a
  7                          certified class of similarly situated individuals
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                          PLAINTIFFS’ NOTICE OF MOTION TO COMPEL
